
PER CURIAM.
In this Workers’ Compensation case, the claimant’s counsel seeks review of an order of the Judge of Compensation Claims that, without more, informed the parties that the judge did not find reasonable and would not approve the amount of attorneys’ fees sought in connection with the parties’ lump-sum settlement and side stipulation thereto. Upon further consideration of the claimant’s response to this Court’s order to demonstrate why this appeal should not be dismissed for lack of jurisdiction, we conclude that the JCC’s order is interlocutory and is not appeal-able. See Fla. R. App. P. 9.180.
Appeal dismissed.
ALLEN, DAVIS and BENTON, JJ., concur.
